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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                    No. 4:09CR00045-01 JLH

VICTOR PADILLA                                                                       DEFENDANT

                                             ORDER

       Victor Padilla has filed a motion to suppress the evidence seized from a Buick Rendezvous

that he was driving on the morning of October 6, 2008. The search and seizure followed a traffic

stop by Arkansas State Police Trooper Rodney Myers. Padilla’s sole argument is that there was no

lawful reason for the traffic stop.

       Myers testified that he was sitting in the median of Interstate 40 east of Forrest City,

Arkansas, facing west that morning. He observed a tractor/trailer rig come over a rise traveling

eastbound and a Buick Rendezvous following the tractor/trailer rig at a distance of approximately

two car lengths or less than one second behind. Myers pulled out onto the highway to catch up with

the Rendezvous to make a traffic stop pursuant to Ark. Code Ann. § 27-51-305(a), which provides,

“The driver of a motor vehicle shall not follow another vehicle more closely than is reasonable and

prudent, having due regard for the speed of vehicles and the traffic upon and the condition of the

highway.” The Court believes the testimony that Myers gave at the suppression hearing and believes

that Myers saw the Buick Rendezvous following the tractor/trailer rig more closely than was

reasonable and prudent having due regard for the speed of the vehicles and the traffic upon the

highway.

       Any traffic violation, even a minor one, gives an officer probable cause to stop the motorist.

United States v. Lyton, 161 F.3d 1168, 1170 (8th Cir. 1998). A trooper’s observation of a vehicle
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following too closely creates probable cause to stop the driver of the vehicle. United States v.

Gregory, 302 F.3d 805, 809 (8th Cir. 2002); United States v. Beck, 140 F.3d 1129, 1133-34 (8th Cir.

1998).

         Myers had probable cause to stop the Buick Rendezvous driven by Padilla on the morning

of October 6, 2008. Therefore, the motion to suppress is DENIED. Document #28.

         IT IS SO ORDERED this 12th day of February, 2010.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE




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